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 1                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO
 2
 3
 4        UNITED STATES OF AMERICA,
 5
          Plaintiff
 6
          v.                                               CRIMINAL 07-0121 (ADC)
 7
 8        [26] AWILDA L. COLÓN-PAGÁN,

 9        Defendant
10
11                  MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                 RE: RULE 11(c)(1)(A) & (B) PROCEEDINGS (PLEA OF GUILTY)
12
13   I.        Personal Background
14             On March 19, 2007, Awilda L. Colón-Pagán, the defendant herein, was charged
15   in a two-count indictment. She agrees to plead guilty to count one.
16             Count one charges defendant of knowingly and intentionally, combine,
17   conspire, and agree with each other and with diverse other persons known and
18   unknown to the Grand Jury, to commit an offense against the United States, to wit,
19   to knowingly and intentionally possess with intent to distribute, multi-kilogram
20   quantities of controlled substances, that is, in excess of one kilogram of heroin, a
21   Schedule I, Narcotic Controlled Substance; in excess of five kilograms of cocaine, a
22   Schedule II, Controlled Substance; in excess of 50 grams of cocaine base, a Schedule
23   II, Controlled Substance; and in excess of 100 kilograms of marihuana, a Schedule
24   I, Controlled Substance, as prohibited by 21 U.S.C. §§ 841(a)(1) and 860. All in
25   violation of 21 U.S.C. § 846.
26             Defendant filed a motion for change of plea on April 9, 2008.
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     II.    Consent to Proceed Before a Magistrate Judge
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            Today, while assisted by Luis Chaves-Ghigliotty, Esq., the defendant, by
 5
     consent, appeared before me in order to change her previous not guilty plea to a plea
 6
     of guilty as to count one of the indictment.
 7
            In open court the defendant was questioned as to the purpose of the hearing
 8
     being held. The defendant responded that the purpose of the hearing was to plead
 9
     guilty. The defendant was advised of her right to have all proceedings, including the
10
     change of plea hearing, before a United States district judge. Defendant was given
11
     notice of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
12
     were to be conducted under oath and that it was expected that her answers would
13
     be truthful (she was also explained that the consequences of lying under oath could
14
     lead to a perjury charge); and (c) her right to have the change of plea proceedings
15
     presided over by a district judge instead of a magistrate judge. The defendant was
16
     also explained the differences between the appointment and functions of the two.
17
     The defendant consent to proceed before this magistrate judge.
18
     III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
19
            A. Compliance With Requirements Rule 11(c)(1)
20
                   Rule 11 of the Federal Rules of Criminal Procedure governs the
21          acceptance of guilty pleas to federal criminal violations. Pursuant to
            Rule 11, in order for a plea of guilty to constitute a valid waiver of the
22          defendant’s right to trial, guilty pleas must be knowing and voluntary:
            “Rule 11 was intended to ensure that a defendant who pleads guilty
23          does so with an ‘understanding of the nature of the charge and
            consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4
24          (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467
            (1969)). [There are three core concerns in these proceedings]: 1)
25          absence of coercion; 2) understanding of the charges; and 3) knowledge
            of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
26          F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st
            Cir. 1991)).
27
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
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           In response to further questioning, defendant was explained and she
 4
     understood that if convicted on count one, she may be sentenced to a term of
 5
     imprisonment of not less than 10 years or no more than life, a fine not to exceed
 6
     of $4, 000,000, and a term of supervised release of at least five years. In accordance
 7
     with 21 U.S.C. § 860, the maximum penalties would be twice that of section 841, and
 8
     at least twice the term of supervised release authorized by section 841.
 9
           However, based on the stipulated and agreed amount of narcotics possessed
10
     by the defendant, that is, at least 100 grams but less than 400 grams of heroin, the
11
     penalty for the offense shall be, a term of imprisonment of not less than five years
12
     and not more than 40 years, a fine not to exceed $2,000,000, and a term of
13
     supervised release of at least four years, all pursuant to 21 U.S.C. § 841(b)(1)(B).
14
     However, in accordance with 21 U.S.C. § 860, the maximum penalties would be twice
15
     that of section 841(b)(1)(B), and at least twice the term of supervised release
16
     authorized by section 841(b)(1)(B).
17
           At the time of the signing of this plea agreement, the defendant shall pay a
18
     special monetary assessment of $100, per count, pursuant to 18 U.S.C. § 3013(a).
19
           The defendant is aware that the court may order her to pay a fine sufficient
20
     to reimburse the government for the costs of any imprisonment, probation or
21
     supervised release, and may impose restitution. As part of this plea agreement, the
22
     defendant agrees to produce complete information regarding all restitution victims
23
     and defendant agrees to provide a financial statement as requested to the United
24
     States.
25
           Defendant was advised that the ultimate sentence was a matter solely for the
26
     court to decide in its discretion and that, even if the maximum imprisonment term
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 3
     and fine were to be imposed upon her, she later could not withdraw her guilty plea
 4
     if she was unhappy with the sentence of the court. The defendant understood this.
 5
           Defendant was explained what the supervised release term means. It was
 6
     emphasized that cooperation with the United States Probation officer would assist
 7
     the court in reaching a fair sentence.
 8
           Emphasis was made on the fact that at this stage, no prediction or promises
 9
     as to the sentence to be imposed could be made by anyone. Defendant responded to
10
     questions in that no promises, threats, inducements or predictions as to what
11
     sentence will be imposed have been made to her.
12
           B. Admonishment of Constitutional Rights
13
           To assure defendant’s understanding and awareness of her rights, defendant
14
     was advised of her right:
15
           1.   To remain silent at trial and be presumed innocent, since it is the
16
     government who has the burden of proving her guilt beyond a reasonable doubt.
17
           2.   To testify or not to testify at trial, and that no comment could be made by
18
     the prosecution in relation to her decision not to testify.
19
           3.   To a speedy trial before a district judge and a jury, at which she would be
20
     entitled to see and cross examine the government witnesses, present evidence on her
21
     behalf, and challenge the government’s evidence.
22
           4.   To have a unanimous verdict rendered by a jury of twelve persons which
23
     would have to be convinced of defendant’s guilt beyond a reasonable doubt by means
24
     of competent evidence.
25
           5.   To use the subpoena power of the court to compel the attendance of
26
     witnesses.
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 3
            Upon listening to the defendant’s responses, observing her demeanor and her
 4
     speaking with her attorney, that to the best of counsel’s belief defendant had fully
 5
     understood her rights, it is determined that defendant is aware of her constitutional
 6
     rights.
 7
            C. Consequences of Pleading Guilty
 8
            Upon advising defendant of her constitutional rights, she was further advised
 9
     of the consequences of pleading guilty. Specifically, defendant was advised that by
10
     pleading guilty and upon having her guilty plea accepted by the court, she will be
11
     giving up the above rights and would be convicted solely on her statement that she
12
     is guilty.
13
            Furthermore, the defendant was admonished of the fact that by pleading guilty
14
     she would not be allowed later on to withdraw her plea because she eventually might
15
     disagree with the sentence imposed, and that when she were under supervised
16
     release, and upon violating the conditions of such release, that privilege could be
17
     revoked and she could be required to serve an additional term of imprisonment. She
18
     was also explained that parole has been abolished.
19
            The defendant has been advised by her attorney of the provisions of the Safety
20
     Valve, however she has declined to receive this benefit.
21
            D. Plea Agreement
22
            The parties have entered into a written plea agreement that, upon being signed
23
     by the government, defense attorney and defendant, was filed and made part of the
24
     record. Defendant was clearly warned and recognized having understood that:
25
            1.    The plea agreement is not binding upon the sentencing court.
26
            2.    The plea agreement is an “agreement” between the defendant, defense
27
     attorney and the attorney for the government which is presented as a
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     recommendation to the court in regards to the applicable sentencing adjustments
 4
     and guidelines, which are advisory.
 5
           3.   The agreement provides a sentencing recommendation and/or anticipated
 6
     sentencing guideline computation, that can be either accepted or rejected by the
 7
     sentencing court.
 8
           4.   In spite of the plea agreement and any sentencing recommendation
 9
     contained therein, the sentencing court retains full discretion to reject such plea
10
     agreement and impose any sentence up to the possible maximum penalty prescribed
11
     by statute.
12
           5.   The defendant understands that if the court accepts this agreement and
13
     sentences defendant according to its terms and conditions, defendant waives and
14
     surrenders her right to appeal the conviction and sentence in this case.
15
           Defendant acknowledged having understood this explanation.
16
           E. Government's Evidence (Basis in Fact)
17
           The government presented a proffer of its evidence with which the defendant
18
     basically concurred.
19
           Accordingly, it is determined that there is a basis in fact and evidence to
20
     establish all elements of the offense charged.
21
           F. Voluntariness
22
           The defendant accepted that no leniency had been promised, no threats had
23
     been made to induce her to plead guilty and that she did not feel pressured to plead
24
     guilty. She came to the hearing for the purpose of pleading guilty and listened
25
     attentively as the prosecutor outlined the facts which it would prove if the case had
26
     proceeded to trial.
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     IV.   Conclusion
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           The defendant, by consent, has appeared before me pursuant to Rule 11,
 5
     Federal Rules of Criminal Procedure, and has entered a plea of guilty as to count one
 6
     of the indictment.
 7
           After cautioning and examining the defendant under oath and in open court,
 8
     concerning each of the subject matters mentioned in Rule 11, as described in the
 9
     preceding sections, I find that the defendant Awilda L. Colón-Pagán is competent to
10
     enter this guilty plea, is aware of the nature of the offense charged and the
11
     maximum statutory penalties that the same carries, understands that the charge is
12
     supported by the government’s evidence, has admitted to every element of the
13
     offense charged, and has done so in an intelligent and voluntary manner with full
14
     knowledge of the consequences of his guilty plea.
15
           Therefore, I recommend that the court accept the guilty plea of the defendant
16
     and that the defendant be adjudged guilty as to count one of the indictment.
17
           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B)
18
     and Rule 72(d) of the Local Rules of Court. Any objections to the same must be
19
     specific and must be filed with the Clerk of Court within five (5) days of its receipt.
20
     Rule 510.1, Local Rules of Court; Fed. R. Civ. P. 72(b). Failure to timely file specific
21
     objections to the report and recommendation is a waiver of the right to review by the
22
     district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
23
           At San Juan, Puerto Rico, this 22d day of April, 2008.
24
25                                                S/ JUSTO ARENAS
                                         Chief United States Magistrate Judge
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